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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS,                                             §     CASE NO.: 3:19-CR-188-K
                                                §
HECTOR MADRIGAL MENDOZA (02)                    §

            ORDER ACCEPTING REPORT AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE
                     CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding

Entry of a Plea of Guilty, the Consent of the defendant, and the Report and

Recommendation Concerning Plea of Guilty of the United States Magistrate Judge,

and no objections thereto having been filed within fourteen days of service in

accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion

that the Report and Recommendation of the Magistrate Judge concerning the Plea of

Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts

the plea of guilty and Plea Agreement and the Defendant is hereby adjudged guilty.

Sentence will be imposed in accordance with the Court’s scheduling order.

         SO ORDERED.

         Signed August 27th, 2021.

                                             _____________________________
                                             ED KINKEADE
                                             UNITED STATES DISTRICT JUDGE




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